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 1
                        UNITED STATES DISTRICT COURT
 2                    FOR THE WESTERN DISTRICT OF TEXAS
 3
                                                  §
 4   SHERREL PRICE,                               §
 5
                                                  §    Civil Action No.:
                         Plaintiff,               §    5:17-cv-00021
 6                                                §
 7                       v.                       §
                                                  §
 8
     MEDICREDIT, INC.                             §    JURY TRIAL DEMANDED
 9                                                §
                         Defendants.              §
10
                                                  §
11                                                §
12
                                        COMPLAINT
13

14         SHERREL PRICE (“Plaintiff”), by and through her attorneys, KIMMEL &
15
     SILVERMAN, P.C., alleges the following against MEDICREDIT, INC.
16

17
     (“Defendant”):

18
                                       INTRODUCTION
19

20         1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices
21
     Act (“FDCPA”), 15 U.S.C. § 1692, et seq. and the Telephone Consumer
22

23   Protection Act (“TCPA”), 47 U.S.C. § 227.
24
                               JURISDICTION AND VENUE
25

26
           2.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which

27   states that such actions may be brought and heard before “any appropriate United
28
     States district court without regard to the amount in controversy,” and 28 U.S.C. §


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 1   1331, which grants this court original jurisdiction of all civil actions arising under
 2
     the laws of the United States.
 3

 4           3.      Defendants conduct business in the State of Texas, and as such,
 5
     personal jurisdiction is established.
 6

 7           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 8
                                             PARTIES
 9
             5.      Plaintiff is a natural person residing in San Antonio, Texas 78216.
10

11           6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692
12
     a(3).
13

14           7.      In the alternative, Plaintiff is a person granted a cause of action
15
     under the FDCPA. See § 1692(k)(a) and Wenrich v. Cole, 2000 U.S. Dist. LEXIS
16

17
     18687 (E.D. Pa. Dec. 22, 2000).

18           8.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
19
             9.      Defendant is a “debt collector” as that term is defined by 15 U.S.C. §
20

21   1692a(6), and, attempted to collect a “debt” as defined by 15 U.S.C. §1692(a)(5)
22
     and Tex. Fin. Code Ann. § 392.001(2).
23

24           10.     Defendant is a “person” as that term is defined by 47 U.S.C. §
25
     153(39).
26
             11.     Defendant is a national debt collection company with headquarters
27

28   located at 3 Cityplace Drive, Suite 690, St. Louis, Missouri, 63141.



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 1         12.    Defendant acted through its agents, employees, officers, members,
 2
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 3

 4   representatives, and insurers.
 5
                               FACTUAL ALLEGATIONS
 6

 7         13.    Upon information and belief, Defendant was attempting to collect an
 8
     alleged consumer debt from Plaintiff.
 9
           14.     Plaintiff has no business debts, and the debt that Defendant was
10

11   attempting to collect could only have been a personal debt.
12
           15.    By way of background, beginning sometime in or around late 2015,
13

14   Defendant began placing repeated harassing telephone calls to Plaintiff’s cellular
15
     telephone regarding an allege debt owed by an unknown male third party named
16

17
     Patrick McLane

18         16.    The calls began shortly after Plaintiff obtained her current cellular
19
     telephone number.
20

21         17.    Defendant has placed telephone calls to Plaintiff from (800) 823-
22
     2318. The undersigned has confirmed that this telephone number belongs to the
23

24   Defendant.
25
           18.    In January 2016, Plaintiff told Defendant that it had the wrong
26
     number and to stop calling.
27

28




                                                 3
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 1         19.     Defendant acknowledged this request by indicating it would stop
 2
     calling.
 3

 4         20.     However, Defendant continued to call Plaintiff for this unknown
 5
     third party through May 2016
 6

 7         21.     When placing calls to Plaintiff, Defendant used an automated
 8
     telephone dialing system and/or prerecorded voice.
 9
           22.     Plaintiff knew that Defendant was using an automated telephone
10

11   dialing system and/or prerecorded voice as she received automated messages
12
     from Defendant indicating that Defendant’s calls were for Patrick McLane.
13

14         23.     Defendant’s calls were not for emergency purposes but to contact an
15
     unknown third party.
16

17
           24.     Plaintiff never consented to Defendant calling

18         25.     Defendant’s calls were often made during inconvenient times such as
19
     when she was at work or picking up her children from school.
20

21         26.     Defendant also placed calls to Plaintiff’s cellular telephone before 8
22
     A.M. and after 9 P.M.
23

24         27.     After the calls to Plaintiff’s cellular telephone continued in spite of
25
     her requests to stop calling, Plaintiff had no other option but to block calls from
26
     their number.
27

28




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 1
                                 COUNT I
 2               DEFENDANT VIOLATED § 1692c(a)(1) OF THE FDCPA
 3
           28.     A debt collector violates §1692c(a)(1) of the FDCPA by
 4

 5
     communicating with the consumer before 8:00 A.M. and/or after 9:00 P.M. local

 6   time at the consumer’s location.
 7
           29.     Here, Defendant contacted Plaintiff before 8:00 A.M. and after 9:00
 8

 9   P.M. local time in violation of §1692c(a)(1) of the FDCPA.
10

11                                 COUNT II
12                   DEFENDANT VIOLATED §1692d OF THE FDCPA
13
           30.     A debt collector violates §1692d of the FDCPA by engaging in
14
     conduct the natural consequence is to harass, oppress, or abuse any person in
15

16   connection with the collection of a debt.
17
           31.     Defendant violated §1692d when it placed repeated harassing
18

19   telephone calls to Plaintiff, and continued to call despite her indication that it was
20
     calling the wrong telephone number.
21

22

23                               COUNT III
24                DEFENDANT VIOLATED §1692d(5) OF THE FDCPA
25
           32.      A debt collector violates §1692d(5) of the FDCPA by causing a
26

27   telephone to ring or engaging any person in telephone conversation repeatedly or
28




                                                5
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 1   continuously with the intent to annoy, abuse or harass any person at the called
 2
     number.
 3

 4         33.    Defendant violated §1692d(5) of the FDCPA when it placed repeated
 5
     harassing telephone calls to Plaintiff, and continued to call despite her indication
 6

 7   that it was calling the wrong telephone number.
 8

 9

10
                                  COUNT III
                         DEFENDANT VIOLATED THE TCPA
11

12         34.    Plaintiff incorporates the forgoing paragraphs as though the same
13
     were set forth at length herein.
14
           35.    Defendant initiated automated calls to Plaintiff using an automatic
15

16   telephone dialing system.
17
           36.    Defendant’s calls to Plaintiff were not made for emergency purposes.
18

19         37.    Defendant’s calls to Plaintiff were not made with Plaintiff’s prior
20
     express consent.
21

22
           38.    Defendant’s acts as described above were done with malicious,

23   intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
24
     under the law and with the purpose of harassing Plaintiff.
25

26         39.    The acts and/or omissions of Defendant were done unfairly,
27
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
28

     lawful right, legal defense, legal justification or legal excuse.


                                                   6
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 1         40.   As a result of the above violations of the TCPA, Plaintiff has suffered
 2
     the losses and damages as set forth above entitling Plaintiff to an award of
 3

 4   statutory, actual and trebles damages.
 5

 6

 7
           WHEREFORE, Plaintiff, SHERREL PRICE, respectfully prays for a
 8
     judgment as follows:
 9

10                a.    All actual damages suffered pursuant to 15 U.S.C. §
11
                        1692k(a)(1);
12

13                b.    Statutory damages of $1,000.00 for the violation of the
14
                        FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);
15

16
                  c.    All attorneys’ fees, witness fees, court costs and other

17                      litigation costs incurred by Plaintiff pursuant to 15 U.S.C. §
18
                        1693k(a)(3);
19

20                d.    All reasonable attorneys’ fees, witness fees, court costs and
21
                        other litigation costs incurred by Plaintiff pursuant to 15
22

23                      U.S.C. § 1693k(a)(3) and Tex. Fin. Code § 392.403(b);
24
                  e.    All actual damages suffered pursuant to 47 U.S.C. §
25
                        227(b)(3)(A);
26

27                f.    Statutory damages of $500.00 per violative telephone call
28
                        pursuant to 47 U.S.C. § 227(b)(3)(B);


                                               7
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 1                 g.      Treble damages of $1,500.00 per violative telephone call
 2
                           pursuant to 47 U.S.C. §227(b)(3);
 3

 4                 h.      Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
 5
                   i.      Any other relief deemed appropriate by this Honorable Court.
 6

 7

 8                              DEMAND FOR JURY TRIAL
 9
            PLEASE TAKE NOTICE that Plaintiff, SHERREL PRICE, demands a
10

11   jury trial in this case.
12
                                        Respectfully submitted,
13

14
     Dated: January 13, 2017           By: /s/ Amy L. Bennecoff Ginsburg, Esq.
                                       Amy L. Bennecoff Ginsburg, Esq.
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